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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


Rural Development Innovations
Limited,
Plot 9635 Central Street Chudleigh
Lusaka, Zambia

Paul Olson,
Address omitted pursuant to Local Civil
Rule 5.1(c), and

Solomon Chi,
Address omitted pursuant to Local Civil
Rule 5.1(c)                                  Civil Case No. ___________

                                             Complaint for Declaratory and
            Plaintiffs,                      Injunctive Relief

v.

Pete Marocco, in his purported official
capacities as Acting Chair of the Board
of the United States African
Development Foundation and President
of the United States African
Development Foundation,
1400 I Street NW
Washington, DC 20005,

Sergio Gor, in his official capacity as
Director of the White House Presidential
Personnel Office, 1600 Pennsylvania
Avenue NW Washington, DC 20500,

U.S. DOGE Service, 736 Jackson
Place, N.W. Washington, D.C. 20503,

U.S. DOGE Service Temporary
Organization, 736 Jackson Place, N.W.
Washington, D.C. 20503,
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Amy Gleason, in her official capacity as
the Acting Administrator of U.S. DOGE
Service and U.S. DOGE Service
Temporary Organization, 736 Jackson
Place, N.W. Washington, D.C. 20503,

Stephen Ehikian, in his official
capacity as Acting Administrator of the
U.S. General Services Administration,
1800 F Street NW Washington, DC
20405,

Scott Bessent, in his official capacity
as Secretary of the Treasury,
1500 Pennsylvania Ave. NW
Washington, DC 20220,

Douglas J. Burgum, in his official
capacity as Secretary of the Interior.
1849 C Street, NW
Washington, DC 20240,

and

Donald J. Trump, in his official
capacity as President of the United
States of America, 1600 Pennsylvania
Avenue NW Washington, DC 20500,

             Defendants.


                                INTRODUCTION

      1.    The United States African Development Foundation (USADF) is a

congressionally created agency. It has been charged with Congress with performing

development assistance activities “to strengthen the bonds of friendship and

understanding between the people of Africa and the United States”; “to support self-

help activities at the local level designed to enlarge opportunities for community



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development”; “to stimulate and assist effective and expanding participation of

Africans in their development process”; and “to encourage the establishment and

growth of development institutions which are indigenous to particular countries in

Africa and which can respond to the requirements of the poor in those countries.” 22

U.S.C. § 290h-2(a). USADF fulfills these purposes by using congressionally

appropriated funds to award grants to partners in Africa.

      2.    The management of USADF is vested in its Board of Directors, which

consists of seven members appointed by the President, with the advice and consent

of the Senate. 22 U.S.C. § 290h-5(a). The Board of Directors is responsible for

appointing a President of USADF. 22 U.S.C. § 290h-5(f). No provision of law

authorizes the appointment of acting members of USADF’s Board of Directors, absent

Senate confirmation, and no provision of law authorizes an entity other than the

Board to appoint the agency’s President.

      3.    Despite the clear statutory requirement that USADF “shall have

perpetual succession unless dissolved by an Act of Congress,” 22 U.S.C. § 290h-

4(a)(1), Defendants are dead-set on shuttering the agency.

      4.    On February 21, President Trump issued an Executive Order describing

USADF as “unnecessary” and directing that the agency be reduced to its minimum

statutory functions. The Trump Administration then purported to appoint Pete

Marocco as the “Acting Chair” of USADF. In that capacity, Marocco purported to hold

a meeting of the Board of Directors. He was the only participant in that meeting, at

which he purported to appoint himself the President of USADF.



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      5.     Marocco then claimed to exercise the powers of the Board of Directors

and of the President of USADF by terminating almost all of the agency’s grants and

contracts, by terminating the employment of almost all of the agency’s staff, and by

rendering it impossible for the agency’s remaining staff to communicate with its few

remaining contractors and grantees. In sum, Marocco has destroyed the ability of

USADF to perform its congressionally assigned mission.

      6.     Marocco lacked the authority to perform any of these actions, because

he has not been legally appointed as a member of the Board of USADF or as the

agency’s President. He is legally a stranger to USADF, and each of his actions taken

in an attempt to destroy the agency are void ab initio.

      7.     Plaintiff Rural Development Innovations is a consulting firm based in

Lusaka, Zambia, which offers technical support to small businesses including women-

and youth-led enterprises. RDI receives 100% of its funding from USADF and has

been awarded a USADF grant that continues through 2028. Yet in April 2025, RDI

received notice from Pete Marocco that its grant was being terminated immediately

because RDI somehow no longer satisfied USADF’s priorities. As a result, RDI will

be forced to shut down entirely by the end of June 2025.

      8.     Plaintiffs Paul Olson and Solomon Chi have been long-time employees

of USADF—dedicating their professional lives to USADF’s mission. In March 2025,

the employees received a letter from Pete Marocco that they were being put on

administrative leave. Two weeks later, the employees received a second letter stating

that Marocco “regret[ted] to inform” each employee that they were “affected by a



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reduction in force (RIF) action.” According to Marocco, the RIF was “necessary for

workforce reshaping” of USADF. Each RIF was effective 30 days later (despite the

legal standard being 60 days).

       9.     Absent timely relief from this Court, Plaintiffs will suffer irreparable

harm. RDI will not only be forced to shutter entirely, it will unlikely be able to pay

its employees the separation costs they are due under Zambian law. The employees

of USADF have not only lost their livelihoods, if they succeed on the merits without

preliminary injunctive relief, a final judgment will be a pyrrhic victory. Because

Defendants are shuttering USADF in all but name, by the time this Court could issue

a final judgment, there would be nothing left for Plaintiffs to return to. The Court

should declare Defendants’ actions ultra vires and preliminarily and permanently

enjoin Defendants from outright ignoring the law in their attempts to shut down

USADF.

                           JURISDICTION AND VENUE

       10.    This Court has federal-question jurisdiction under 28 U.S.C. § 1331.

Plaintiffs allege violations of the United States Constitution, the Federal Vacancies

Reform Act, 5 U.S.C. § 3345 et seq., the African Development Foundation Act, 22

U.S.C. § 290h-1 et seq., and the Administrative Procedure Act, 5 U.S.C. § 701, et seq.

       11.    Venue is proper under 28 U.S.C. § 1391(e)(1), because all defendants

reside in this district, and because a substantial part of the events or omissions giving

rise to the claim occurred in this district.

       12.    This Court has the authority to grant the relief requested by Plaintiffs

under Rules 57 and 65 of the Federal Rules of Civil Procedure, under the Declaratory
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Judgment Act, 28 U.S.C. §§ 2201 and 2202 et seq., under the Administrative

Procedure Act, 5 U.S.C. § 701, et seq., under the Mandamus Act, 28 U.S.C. § 1361,

and under the Court’s inherent equitable authority.

                                      PARTIES

      13.    Plaintiff Rural Development Innovations (RDI) is a consulting firm

based in Lusaka, Zambia, which offers technical support to micro small and medium

size enterprises, including farmers' cooperatives, women and youth led enterprises,

associations, and various community-based organizations. It also offers program and

project management services to development partners. It is a local technical partner

for the United States African Development Foundation. RDI is led by a team of

qualified Zambian nationals with expertise in different fields. RDI offers clients broad

expertise in financial management, enterprise development, organizational capacity

development, strategy development and implementation, project management,

marketing and market access development. In partnership with USADF, RDI aims

to improve the livelihoods of low-income communities in Zambia by providing demand

driven innovative solutions to enterprises through technical training and business

development services.

      14.    Plaintiff Paul Olson has been an employee of USADF since 1991. He was

subject to a reduction in force on March 31, 2025, and, as a result, his employment

formally ended on April 30, 2025.

      15.    Plaintiff Solomon Chi has been an employee of USADF since 2010. He

was subject to a reduction in force on March 31, 2025, and, as a result, his

employment formally ended on April 30, 2025.
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      16.    Defendant Pete Marocco purports to be the Acting Chair of the Board of

USADF and the President of USADF, but his purported appointment to that position

was ultra vires.

      17.    Defendant Sergio Gor is the Director of the White House Presidential

Personnel Office.

      18.    Defendant U.S. DOGE Service is an entity that was created within the

Executive Office of the President by Executive Order 14158.

      19.    Defendant U.S. DOGE Service Temporary Organization is an entity that

was created within the Executive Office of the President by Executive Order 14158.

      20.    Defendant Amy Gleason is the Acting Administrator of U.S. DOGE

Service and U.S. DOGE Service Temporary Organization.

      21.    Defendant Scott Bessent is the Secretary of the Treasury.

      22.    Defendant Douglas J. Burgum is the Secretary of the Interior

      23.    Defendant Donald J. Trump is the President of the United States.

                             LEGAL BACKGROUND

                           The Appointments Clause

      24.    The Appointments Clause of the United States Constitution provides

that: “[The President] shall nominate, and by and with the Advice and Consent of the

Senate, shall appoint Ambassadors, other public Ministers and Consuls, Judges of

the supreme Court, and all other Officers of the United States, whose Appointments

are not herein otherwise provided for, and which shall be established by Law: but the

Congress may by Law vest the Appointment of such inferior Officers, as they think



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proper, in the President alone, in the Courts of Law, or in the Heads of Departments.”

U.S. Const., art. II, § 2, cl. 2.

       25.     “Only the President, with the advice and consent of the Senate, can

appoint . . . ‘principal’ officers.” United States v. Arthrex, Inc., 594 U.S. 1, 12 (2021).

       26.     But “the Appointments Clause permits Congress to dispense with joint

appointment . . . for inferior officers. Congress may vest the appointment of such

officers ‘in the President alone, in the Courts of Law, or in the Heads of

Departments.’” Id. at 12-13 (internal citation omitted).

                             Federal Vacancies Reform Act

       27.     The    Federal       Vacancies   Reform     Act   (FVRA)   describes   certain

circumstances under which Congress has delegated to the President a limited

authority to appoint acting officials. See 5 U.S.C. §§ 3345-3346.

       28.     These provisions “are the exclusive means for temporarily authorizing

an acting official to perform the functions and duties of any office of an Executive

agency . . . for which appointment is required to be made by the President, by and

with the advice and consent of the Senate,” unless another “statutory provision

expressly” authorizes the President or another official to appoint an acting official or

such a provision itself expressly designates an acting official, or the President validly

makes a recess appointment. 5 U.S.C. § 3347(a).

       29.     Congress enacted the FVRA “to ensure the exclusivity of the

applicability of the Vacancies Act.” S. Rep. No. 105-250, at 11 (1998).




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       30.      The FVRA does not extend to the President the limited grant of

appointment authority to vacancies arising in boards “composed of multiple

members” and boards that control a “Government corporation.” 5 U.S.C. § 3349c(1).

       31.      Any action taken by a person who purports to be an acting member “in

the performance of any function or duty of a vacant office to which” the FVRA applies

“shall have no force or effect,” 5 U.S.C. § 3348(d)(1), and “may not be ratified.” 5 U.S.C.

§ 3348(d)(2).

                       African Development Foundation Act

       32.      Congress   established   the       United   States   African   Development

Foundation as a “body corporate,” 22 U.S.C. § 290h-1(a), to fulfill the statutory

purposes “to enable the people of African countries to develop their potential, fulfill

their aspirations, and enjoy better, more productive lives”; “to strengthen the bonds

of friendship and understanding between the people of Africa and the United States”;

“to support self-help activities at the local level designed to enlarge opportunities for

community development”; “to stimulate and assist effective and expanding

participation of Africans in their development process”; and “to encourage the

establishment and growth of development institutions which are indigenous to

particular countries in Africa and which can respond to the requirements of the poor

in those countries.” 22 U.S.C. § 290h-2(a).

       33.      Congress instructed USADF to carry out these purposes “in cooperation

with, and in response to, organizations indigenous to Africa which are representative

of the needs and aspirations of the poor in Africa,” and directed that USADF shall “to

the extent possible, coordinate its development assistance activities with the
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activities of the United States Government and private, regional, and international

organizations.” 22 U.S.C. § 290h-2(b).

       34.    To fulfill these statutory purposes, Congress authorized USADF to

“make grants, loans, and loan guarantees”—not to exceed $250,000 for any particular

project—“to any African private or public group (including public international

organizations), association, or other entity engaged in peaceful activities” including

“the fostering of local development institutions,” “the development of self-evaluation

techniques by participants in projects supported” by USADF, “development research

by Africans and the transfer of development resources,” and “the procurement of such

technical or other assistance as is deemed appropriate by the recipient of such grant,

loan, or guarantee.” 22 U.S.C. § 290h-3(a).

       35.   Congress directed that “the Foundation shall give priority to projects

which community groups undertake to foster their own development and in the

initiation, design, implementation, and evaluation of which there is the maximum

feasible participation of the poor.” 22 U.S.C. § 290h-3(b).

       36.   Congress specified that USADF, “as a corporation,” “shall have

perpetual succession unless dissolved by an Act of Congress.” 22 U.S.C. § 290h-

4(a)(1).

       37.   Congress empowered USADF to “prescribe, amend, and repeal such

rules and regulations as may be necessary for carrying out the functions of the

Foundation”; to “make and perform such contracts and other agreements with any

individual, corporation, or other private or public entity however designated and



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wherever situated, as may be necessary for carrying out the functions of the

Foundation”; and to “determine and prescribe the manner in which its obligations

shall be incurred and its expenses allowed and paid[.]” 22 U.S.C. § 290h-4(a).

      38.     The management of USADF is vested in a board of directors, composed

of seven members appointed by the President, by and with the advice and consent of

the Senate. 22 U.S.C. § 290h-5(a). All members of the Board shall be appointed “on

the basis of their understanding of and sensitivity to community level development

processes.” Id. Members of the Board shall be appointed so that no more than four

members of the Board are members of any one political party. Id.

      39.     The Board of USADF manages the entity through the appointment of a

President and an Advisory Council. 22 U.S.C. § 290h-5(d), (e).

      40.     Congress has appropriated to USADF, “[f]or necessary expenses to

carry out the African Development Foundation Act,” $45 million to remain available

until September 30, 2025. Further Consolidated Appropriations Act, 2024, Pub. L.

No. 118-47, Div. F, tit. III, 138 Stat. 460, 746 (2024).

      41.     Congress prohibited USADF from using any appropriated funds to

“implement a reorganization, redesign, or other plan,” that would “expand, eliminate,

consolidate, or downsize covered departments, agencies, or organizations” or “expand,

eliminate, consolidate, or downsize the United States official presence overseas,”

without first consulting with the Appropriations Committees of both houses and

providing a detailed justification for any such plan. Id., § 7063(a), (b), 138 Stat. at

843-44.



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                           FACTUAL ALLEGATIONS

                          USADF’s structure and work

      42.    USADF was “established by Congress to invest directly in African

grassroots enterprises and social entrepreneurs.” United States African Development

Foundation, www.usadf.gov [https://perma.cc/N5BB-4RP6] (last accessed Mar. 5,

2025). USADF provides grant funds, among other resources, “to develop, grow and

scale African enterprises and entrepreneurs who improve lives and livelihoods.” Id.

“USADF’s investments increase incomes, revenues, and jobs by promoting self-

reliance and market-based solutions to poverty.” Id. USADF works with partners in

22 African countries, focusing on “populations least served by existing markets or

assistance programs” with the goal of helping them “transition out of poverty.” Id.

      43.    In fiscal year 2024, USADF made significant investments to drive

growth in key sectors, including $16.56 million across 114 grants enhancing

agriculture, $7.37 million across 34 grants expanding off-grid energy access, and

$4.19 million across 94 grants advancing youth and women entrepreneurship. Id.

                          February 19 Executive Order

      44.    On February 19, President Trump signed an executive order titled

“Commencing the Reduction of the Federal Bureaucracy.” Exec. Order No. 14217, 90

Fed. Reg. 10577 (Feb. 19, 2025).

      45.    The purpose of the executive order is to “reduce the size of the Federal

Government,” especially the elements “that the President has determined are

unnecessary.”



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      46.    The executive order list federal entities that “shall be eliminated to the

maximum extent consistent with applicable law, and such entities shall reduce the

performance of their statutory functions and associated personnel to the minimum

presence and function required by law.”

      47.    The executive order lists USADF as one of the targeted entities.

      48.    Under the executive order, “the head of each unnecessary governmental

entity” has 14 days to submit a report to the Director of the Office of Management

and Budget “confirming compliance with this order and stating whether the

governmental entity, or any components or functions thereof, are statutorily required

and to what extent.”

      49.    In response to the reports submitted by targeted entities, “the OMB

Director or the head of any executive department or agency charged with reviewing

grant requests by such entities shall, to the extent consistent with applicable law and

except insofar as necessary to effectuate an expected termination, reject funding

requests for such governmental entities to the extent they are inconsistent with this

order.”

      50.    The executive order “shall [not] be construed to impair or otherwise

effect,” among other things, “the authority granted by law to an executive

department, agency, or the head thereof” and “shall be implemented consistent with

applicable law and subject to the availability of appropriations.”




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               Defendants’ invalid attempt to appoint Marocco

      51.   On February 28, 2025, Trent Morse of the Presidential Personnel Office

sent USADF management an email asserting that, because USADF was “Board-less,”

Pete Marocco had been appointed as Acting Chair of the Board of USADF.

      52.   On March 6, Marocco, in his purported capacity as Acting Chair, held

what he characterized as a meeting of the Board of USADF. No other member of the

Board of USADF was in attendance. Marocco made a motion to appoint himself as

the President of USADF. Marocco cast a vote in favor of his own motion. As Marocco

was the only purported member of the Board in attendance, he declared that his

motion had been adopted and he declared himself to be the President of USADF.

      53.   Since that date, Marocco and other agents of Defendants have

repeatedly referred to Marocco as the Acting Chair or the President of USADF and

have attempted to exercise the agency’s authorities by virtue of the claim that

Marocco holds those positions.

      54.   On March 13, the Interior Business Center (IBC) of the Department of

the Interior informed USADF management that on March 6, a member of DOGE

staff, Nate Cavanaugh, sent a request to access USADF staff human resources files

which include salary information, tenure, and personally identifiable information.

The request via email was copied to Marocco and DOGE staff member Ethan

Shaotran.

      55.   IBC further stated that on March 6, Cavanaugh had informed IBC staff

that the request comes directly from Marocco and referred to Marocco as the current

Chair of the USADF board.
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      56.    IBC requested documentation of the appointment of Marocco as Acting

Chairman and President of USADF. On March 12, IBC received the completed form

signed by Marocco as “Chairman,” requesting access to all HR systems for USADF.

      57.    On March 13, IBC provided access to USADF human resources data to

Marocco, while specifying the privacy concerns attached to these files.

      58.    On March 17, five USADF junior and mid-level staff members received

the same email from a staff member of the U.S. DOGE Service, Justin Fox, requesting

access to USADF human resources data. Fox stated that he was reaching out on

behalf of Marocco in his capacity as Acting President of USADF. He further stated

that Marocco would like USADF staff to help with accessing USADF’s grants system.

At 8:44 p.m., on March 31, three employees of USADF received emails from Marocco,

who identified himself as “Acting President and CEO, USADF,” informing these

employees that they were being terminated from their employment with USADF

under a reduction in force (RIF), with an effective date of April 30. The emails

attached a memorandum, also from Marocco in his purported capacity as Acting

President and CEO, stating that “[t]his RIF is necessary for workforce reshaping of

the United States African Development Foundation.”

      59.    On April 7, fourteen employees of USADF received emails from Marocco,

who identified himself as "Acting President and CEO, USADF," informing these

employees that they were being terminated from their employment with USADF as

part of a reduction in force, with an effective date of May 7. The emails to these

fourteen employees, like the emails of March 31, attached a memorandum, also from



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Marocco in his purported capacity as Acting President and CEO, stating that "[t]his

RIF is necessary for workforce reshaping of the United States African Development

Foundation."

      60.    Two additional employees of USADF accepted offers to participate in the

Deferred Resignation Program.

      61.    With these resignations, as well as the termination of the employment

of seventeen employees that Marocco announced on March 31 and April 7, USADF

has been reduced to ten employees (not counting three employees of the U.S. DOGE

Service who have been detailed to USADF on Marocco's orders). Marocco placed

almost all of these ten employees on administrative leave, leaving just two to carry

out the entirety of USADF’s work.

      62.    USADF also employed contract personnel. Marocco has cancelled these

contracts, effective immediately, resulting in the termination of seven contractors in

the Washington D.C. area, and the termination of fifteen country-program

coordinators—that is, foreign nationals who have served USADF on a contract basis

to perform local oversight activities on behalf of the agency.

      63.    In addition to contracts with country-program coordinators, USADF has

retained the services of local representatives in nineteen countries through partner

grants. Recipients of partner grants have performed services for USADF including

project design, program development, oversight, training, monitoring, and

evaluation. Marocco exercised his purported authority as Acting Chair and President

of USADF to instruct the Department of the Treasury to terminate almost all of



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USADF's partner grants, effective immediately. The Department of the Treasury

complied with Marocco’s instruction. As a result, three of USADF’s partner grants (at

most) have not been terminated. Whether the grants remain in place or not, these

grantees depend on interaction with country-program coordinators to perform

services on behalf of USADF. Because all the agency's country-program coordinators

have been terminated, the recipients of partner grants no longer have the means to

perform services for the agency.

      64.    As a result, USADF no longer has any personnel in Africa, either

employed directly by the agency or performing services under a contract or grant,

who are able to perform grant-implementation services for USADF.

      65.    The remaining employees, all of whom are based domestically, cannot

perform the statutory functions of USADF. To administer grants to partners in Africa

that fulfill the purposes that Congress has directed USADF to fulfill in 22 U.S.C.

§§ 290h-2 and 290h-3, USADF personnel must be able to perform portfolio

management and oversight duties including the solicitation and review of quarterly

reports from grantees, as well as the review of disbursement requests, site-visit

reports, project audits, work plans and performance assessments, implementation-

related amendments, and grant close outs.

      66.    In addition, USADF personnel must be able to perform annual portfolio

reviews to evaluate performance indicators of all active grants, including the grading

of these grants based on project-specific performance indicators.




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      67.    USADF personnel must also be able to conduct quarterly meetings with,

and reports to, strategic government partners in six countries as well as private-

sector partners in four countries.

      68.    To comply with Congressional instructions to devote $45 million to

grants to African partners through September 30, 2025, USADF personnel must also

be able to perform activities relating to the awarding of new grants, including the

solicitation of grant proposals, the screening of thousands of applicants for eligibility

and fit, and the performance of preliminary site visits to hundreds of potential

grantees in over twenty countries.

      69.    As a matter of due diligence, USADF must also be able to review

business-registration requirements; review corporate documentation, including

documents of incorporation and financial statements; and perform identity checks of

shareholders and boards of directors.

      70.    For successful grant applicants, USADF personnel must also be able to

complete project design and development of the grants, including market analyses,

technology assessments, budget and financial analyses, and environmental screening

reports.

      71.    USADF personnel must also be able to perform notifications and

coordination with United States embassies in more than twenty countries; manage

USADF assets located abroad including vehicles, equipment, and offices; and

maintain oversight of foreign bank accounts.




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        72.   USADF staff must also be able to implement and respond to financial

audits of the agency conducted by OIG, and GAO.

        73.   The remaining employees of USADF personnel cannot perform any of

these functions. They cannot perform any of the actions that are necessary to award

new grants using the funds that Congress has appropriated for his purpose, and they

cannot perform any of the actions that are necessary for effective implementation and

oversight of the agency's existing grants. Indeed, the remaining employees do not

have the capability to establish contact with USADF’s existing grantees.

        74.   USADF no longer has the capability to pay amounts remaining to be

disbursed on these grants, to coordinate with foreign partners to arrange the payment

of amounts those partners have pledged in matching funds, or to maintain basic

functions of oversight to ensure that grantees are performing their functions

consistently with the terms and conditions of each grant. As a result, every grant of

USADF has effectively been terminated, even if some grants continue to appear on

the agency's records as active.

                               CLAIMS FOR RELIEF

                                      COUNT I

          Ultra vires—violation of the Federal Vacancies Reform Act

        75.   Plaintiffs restate and reallege all paragraphs above as if fully set forth

here.

        76.   Marocco’s purported appointment as acting Chair of the Board of

USADF is ultra vires. The Federal Vacancies Reform Act (FVRA) describes certain

circumstances under which Congress has delegated to the President this limited

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authority to appoint acting officials. See 5 U.S.C. §§ 3345-3346; Nat’l Lab. Rels. Bd.

v. SW. Gen., 580 U.S. 288, 294-96 (2017). These provisions “are the exclusive means

for temporarily authorizing an acting official to perform the functions and duties of

any office of an Executive agency . . . for which appointment is required to be made

by the President, by and with the advice and consent of the Senate,” unless another

“statutory provision expressly” authorizes the President or another official to appoint

an acting official or such a provision itself expressly designates an acting official, or

the President validly makes a recess appointment. 5 U.S.C. § 3347(a).

      77.    The FVRA does not extend to the President this limited grant of

appointment authority to vacancies arising in boards “composed of multiple

members” and boards that control a “Government corporation.” 5 U.S.C. § 3349c(1).

      78.    The United States African Development Foundation is governed by a

nonpartisan seven-member board, and it operates as a government corporation. 22

U.S.C. §§ 290h-4(b), 290h-5(a)(1).

      79.    Any action taken by a person who purports to be an acting member of

USADF’s Board “in the performance of any function or duty of a vacant office to

which” the FVRA applies “shall have no force or effect,” 5 U.S.C. § 3348(d)(1), and

“may not be ratified,” 5 U.S.C. § 3348(d)(2).

      80.    As a result, any action taken by Marocco purporting to be a member of

the Board—including appointing himself as President and CEO—has no force or

effect and may not be ratified.




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                                       COUNT II

        Ultra vires—violation of the African Development Foundation Act

         81.   Plaintiffs restate and reallege all paragraphs above as if fully set forth

here.

         82.   Marocco’s purported appointment as acting Chair of the Board of

USADF is ultra vires. The African Development Foundation Act requires that the

Board be appointed “by and with the advice and consent of the Senate.” 22 U.S.C.

§ 290h-5(a)(1). Marocco has not been nominated by the President or confirmed by the

Senate to a seat on the Board of USADF. No provision of law authorizes the President

to appoint an acting member of the Board of USADF.

         83.   Marocco’s purported appointment as President of USADF is ultra vires.

Only the Board of USADF holds the authority to appoint the President of USADF. 22

U.S.C. § 290h-5(a)(1). Marocco purported to appoint himself as the President of

USADF, but he is not a member of the Board of USADF and he lacked the authority

to make such an appointment.

         84.   As a result, all the actions that Marocco has taken in his purported

authority as Acting Chair of the Board of USADF or as President of USADF,

including the termination of USADF’s contracts and grants and the termination of

the employment of USADF’s employees, are ultra vires and violate USADF’s organic

statute.

         85.   Further, Defendants’ actions to terminate USADF’s contracts and

grants, terminate the employment of USADF’s employees, and render it impossible

for USADF to perform its statutory functions violate USADF’s organic statute, 22

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U.S.C. § 290h et seq., and appropriations statutes under which Congress directed

USADF to make expenditures in furtherance of the agency’s statutory mission.

                                     COUNT III

               Ultra vires—violation of Constitutional provisions

        86.   Plaintiffs restate and reallege all paragraphs above as if fully set forth

here.

        87.   The Appointments Clause grants Congress the authority to vest the

appointment of inferior officers, such as the President of USADF, in the heads of

Departments. Congress has exercised that authority to grant the Board of USADF

the exclusive authority to appoint the President of USADF, and the Board of USADF

accordingly holds the exclusive authority to remove that officer. Moreover, the

Appointments Clause requires the appointment of principal officers, such as the

Board of USADF, through the process of Presidential nomination and Senate

confirmation. Although Congress has authorized limited departures from that

process for certain acting officials, it has not authorized the appointment of acting

members of the Board of USADF. The purported appointment of Marocco is in

violation of the authorities vested in Congress by the Constitution and further

violates the President’s duty under article II to “take Care that the Laws be faithfully

executed.”

        88.   The African Development Foundation Act requires that the Board be

appointed “by and with the advice and consent of the Senate.” 22 U.S.C. § 290h-

5(a)(1).



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      89.     The African Development Foundation Act does not provide any process

for filling vacancies with acting board members. 22 U.S.C. § 290h-5(a)(1). Instead,

“upon the expiration of his term [of office] a member shall continue to serve until [his]

successor is appointed and shall have qualified.” 22 U.S.C. § 290h-5(a)(2).

      90.     Under the Federal Vacancies Reform Act of 1998, 5 U.S.C. § 3345 et seq.,

the President can appoint acting heads of agencies in specific, outlined instances. 5

U.S.C. § 3345.

      91.     But the President’s ability to fill vacancies does not apply to “any

member who is appointed by the President, by and with the advice and consent of

the Senate to any board, commission, or similar entity that—(A) is composed of

multiple members; and (B) governs an independent establishment or Government

corporation.” 5 U.S.C. § 3349c(1).

      92.     “Insofar as Congress has made explicit statutory requirements, they

must be observed.” Angelus Milling Co. v. Comm’r of Internal Revenue, 325 U.S. 293,

296 (1945).

      93.     Further, Defendants’ actions to terminate USADF’s contracts and

grants, terminate the employment of USADF’s employees, and render it impossible

for USADF to perform its statutory functions are in violation of USADF’s organic

statute, 22 U.S.C. § 290h et seq., and of appropriations statutes under which Congress

directed USADF to make expenditures in furtherance of the agency’s statutory

mission. Defendants’ actions thus violate the principle of separation of powers, the




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Constitution’s vesting of the spending power and the power to legislate in Congress,

and the Take Care Clause.

                                      COUNT IV

            Violation of the Administrative Procedure Act---706(2)(C)
           In excess of statutory jurisdiction, authority, or limitations
                            Against defendant agencies

        94.   Plaintiffs restate and reallege all paragraphs above as if fully set forth

here.

        95.   Under the APA, a court shall “hold unlawful and set aside agency action”

that is “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

with law,” 5 U.S.C. § 706(2)(A), or that is “in excess of statutory jurisdiction,

authority, or limitations,” 5 U.S.C. § 706(2)(C).

        96.   To the extent that Defendants purport to exercise authority with respect

to USADF through Marocco’s invalid appointment as Acting Chair of the Board of

USADF or as President of USADF, those actions are “not in accordance with [the]

law,” are “contrary to [a] constitutional right, power, privilege, or immunity,” and are

“in excess of statutory jurisdiction, authority, or limitations, or short of statutory

right.” 5 U.S.C. § 706(2)(A)-(C).

        97.   Further, Defendants’ actions to terminate USADF’s contracts and

grants, terminate the employment of USADF’s employees, and render it impossible

for USADF to perform its statutory functions are in violation of USADF’s organic

statute, 22 U.S.C. § 290h et seq., and of appropriations statutes under which Congress

directed USADF to make expenditures in furtherance of the agency’s statutory

mission.
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        98.    Plaintiffs seek to hold unlawful and set aside such actions, under the

Administrative Procedure Act and to compel agency action unlawfully withheld or

unreasonably delayed.

                                       COUNT V

               Declaratory Judgment Act, 28 U.S.C. § § 2201 and 2202

        99.    Plaintiffs restate and reallege all paragraphs above as if fully set forth

here.

        100.   Plaintiffs are entitled to declaratory relief on the basis of all claims

identified. There is a substantial and ongoing controversy between Plaintiffs and the

Defendants, and a declaration of rights under the Declaratory Judgment Act is both

necessary and appropriate to establish that Marocco has not been lawfully appointed

to any position within USADF and that his actions in violation of the FVRA, USADF’s

organic statutes, and appropriations statutes are unlawful.

                                       COUNT VI

                                  Writ of Mandamus

        101.   Plaintiffs restate and reallege all paragraphs above as if fully set forth

here.

        102.   In the alternative, Plaintiffs are entitled to a writ of mandamus. The

FVRA and African Development Foundation Act imposes a ministerial duty on the

President and subordinate officials not to purport to appoint an acting member of the

Board of USADF. Plaintiffs are entitled to a writ of mandamus prohibiting Marocco

from exercising any authorities purportedly on behalf of USADF and, absent this



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Court granting one of the counts identified above, there is no other adequate means

of redress.

                              PRAYER FOR RELIEF

      Plaintiffs respectfully request that this Court:

      a.      Declare that Defendant Pete Marocco has not been lawfully appointed

              as an acting member of the Board of the United States African

              Development Foundation, as the President of the United States African

              Development Foundation, or as any other officer of the United States

              African Development Foundation;

      b.      Declare that any actions taken by Defendant Pete Marocco—or by any

              other persons, under the direction of Marocco’s purported authority as

              an acting member of the Board of the United States African

              Development Foundation, as the President of the United States African

              Development Foundation, or as any other officer of the United States

              African Development Foundation—including Marocco’s orders to

              terminate the United States African Development Foundation’s

              contracts and grants and to terminate the employment of the United

              States African Development Foundation’s employees, are void ab initio

              and are without force and effect;

      c.      Enter a preliminary and permanent injunction ordering that

              Defendants may not appoint Pete Marocco or any other person as an

              acting member of the Board of the United States African Development

              Foundation, and that Defendants may not appoint Pete Marocco or any
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      other person as President of the United States African Development

      Foundation absent the approval of the Board of the United States

      African Development Foundation;

d.    Enter a preliminary and permanent injunction ordering the Defendants

      not to recognize the legal effect of any actions taken by Defendant Pete

      Marocco under his purported authority as an acting member of the

      Board of the United States African Development Foundation or as the

      President of the United States African Development Foundation,

      including Marocco’s actions purporting to terminate the United States

      African Development Foundation’s contracts and grants and to

      terminate the employment of the United States African Development

      Foundation’s employees;

e.    Award Plaintiffs costs of suit and attorneys’ fees and expenses under

      any applicable law; and

f.    Issue such other relief as the Court deems proper.




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May 21, 2025                      Respectfully submitted,


                                  _/s/Bradley Girard_________________
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